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                                  UNITED STATES DISTRICT COURT

                                 WESTERN DISTRICT OF LOUISIANA

                                            MONROE DIVISION


LLOYD PRICE                                               *
                                                          *
            Plaintiff,                                    *    CIVIL ACTION NO: 3:17-cv-01069
                                                          *
        versus                                            *
                                                          *
    WAL-MART LOUISIANA, LLC, WAL-                         *    JUDGE ROBERT G. JAMES
    MART STORES INC., STACY MARTIN,                       *
    THE COCA-COLA COMPANY, AND                            *
                                                          *
    COCA-COLA BOTTLING COMPANY                            *    MAGISTRATE JUDGE
    UNITED, INC.                                          *    KAREN L. HAYES
                                                          *
            Defendants.                                   *
                                                          *
* * * * * * * * * * * * * * * * * * * *

                                   28 U.S.C. § 1447(b) COMPLIANCE

        NOW INTO COURT, through undersigned counsel, come Defendants Coca-Cola Bottling

Company United, Inc., The Coca-Cola Company,1 who, in compliance with the Court’s Removal

Order (Rec. Doc. No. 3), and as required pursuant to 28 U.S.C. § 1447(b), respectfully represents

as follows:




1
 The Coca-Cola Company is not a proper party-defendant to this action. At the time of the incident in question, Coca-
Cola Bottling Company United, Inc. owned all of the “Coca-Cola” identified coolers in the Wal-Mart Store located at
2701 Louisville Avenue in Monroe, Louisiana. The Coca-Cola Company did not own any said coolers, nor did it
have any responsibility for servicing said coolers.


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   1. A list of all parties still remaining in the action:

    Plaintiff, Lloyd Price              Defendants, Coca-Cola            Defendants, Wal-Mart
                                        Bottling Company United,         Louisiana LLC,
    Ross Downs, Jr.                     Inc. and The Coca-Cola           Wal-Mart Stores, Inc.,
    The Downs Law Firm, A.P.C.          Company                          and Stacy Martin
    517 North Washington Street
    Bastrop, Louisiana 71220            Matthew W. Bailey                Paul M. Adkins
    T: 318-281-7677                     Irwin Fritchie Urquhart          Blanchard, Walker, O’Quin
    F: 318-281-2225                     & Moore, LLC                     & Robert, PLC
                                        400 Convention St., Ste. 1001    700 Regions Tower
                                        Baton Rouge, Louisiana 70802     Post Office Drawer 1126
                                        Telephone: (225) 615-7150        Shreveport, Louisiana
                                        Fax: (504) 310-2101              71163-1126
                                        mbailey@irwinllc.com             Phone (318) 221-6858
                                                                         Fax (318) 221-2967
                                        Kelly Juneau Rookard             PAdkins@bwor.com
                                        Gretchen F. Richards
                                        400 Poydras Street, Suite 2700
                                        New Orleans, Louisiana 70130
                                        Phone (504) 310-2100
                                        Fax (504) 310-2101
                                        kjuneau@irwinllc.com
                                        grichards@irwinllc.com




   2. A certified copy of the entire state court record is appended hereto as Exhibit A.

   3. Documents included in the State Court record, arranged by order of filing date, are:

          a. Petition for Damages, filed by Plaintiff on March 1, 2017.

          b. Citation of Service to Stacy Martin, return dated March 3, 2017.

          c. Citation of Service to Wal-Mart Louisiana LLC, return dated March 8, 2017.

          d. Citation of Service to Wal-Mart Stores Inc., return dated March 8, 2017.

          e. Citation of Service to The Coca-Cola Company, return dated March 8, 2017.

          f. Citation of Service to Coca-Cola Bottling Company United, Inc., return dated

              March 8, 2017.

          g. Answer to Petition for Damages, with jury demand, filed on behalf of Coca-Cola
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            Bottling Company United, Inc., dated April 12, 2017.

         h. Request for Notice filed on behalf of Coca-Cola Bottling Company United, Inc.,

            dated April 12, 2017.

         i. Answer to Petition for Damages, with jury demand, and Third-Party Demand, filed

            on behalf of Wal-Mart Louisiana LLC and Wal-Mart Stores, Inc., dated April 24,

            2017.

         j. Request for Notice of Trial and Judgment, filed on behalf of Wal-Mart Louisiana

            LLC and Wal-Mart Stores, Inc., dated April 24, 2017.

         k. Answer to Petition filed on behalf of Stacy Martin, dated May 1, 2017.

         l. Citation of Service to Coca-Cola Bottling Company United, Inc., regarding Third-

            Party Demand brought by Wal-Mart Louisiana LLC and Wal-Mart Stores, Inc.,

            return dated May 15, 2017.

         m. Dilatory Exception of Prematurity to the Third Party Demand, filed on behalf of

            Coca-Cola Bottling Company United, Inc., dated May 30, 2017.

         n. Letter advising Court that Dilatory Exception of Prematurity be passed without

            hearing at the request of the parties, dated May 31, 2017.

         o. Memorandum of Opposition to Dilatory Exception of Prematurity, filed on behalf

            of Wal-Mart Louisiana LLC and Wal-Mart Stores, Inc., dated June 6, 2017.

         p. Motion to Withdraw Katrina R. Jackson as Plaintiff’s Co-Counsel of Record, dated

            July 3, 2017.

         q. Order granting Motion to Withdraw Katrina R. Jackson as Plaintiff’s co-counsel of

            record, dated July 6, 2017.

         r. Notice of Removal to State Court Clerk, filed on behalf of Coca-Cola Bottling



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               Company United, Inc. and The Coca-Cola Company, dated August 28, 2017.

   4. Undersigned counsel certifies that Exhibit A constitutes the entire State Court record.

                                      Respectfully Submitted:

                                      IRWIN FRITCHIE URQUHART & MOORE LLC

                                      /s/ Matthew W. Bailey_____________
                                      MATTHEW W. BAILEY (#21459)
                                      400 Convention Street, Suite 1001
                                      Baton Rouge, Louisiana 70802
                                      Telephone: (225) 615-7150
                                      Fax: (504) 310-2101
                                      mbailey@irwinllc.com

                                      KELLY JUNEAU ROOKARD (#30573)
                                      GRETCHEN F. RICHARDS (#35782)
                                      400 Poydras Street, Suite 2700
                                      New Orleans, Louisiana 70130
                                      Phone (504) 310-2100
                                      Fax (504) 310-2101
                                      kjuneau@irwinllc.com
                                      grichards@irwinllc.com
                                      Attorneys for Defendants Cannon Cochran Management
                                      Services, Inc. and The Coca-Cola Company


                                CERTIFICATE OF SERVICE

        I hereby certify that on September 7, 2017, the foregoing pleading was filed electronically
with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all counsel
of record by operation of the court’s electronic filing system.


                                                     /s/ Matthew W. Bailey




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